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                                                               UNITED STATES
                                                   SECURITIES AND EXCHANGE COMMISSION
                                                                          Washington, D.C. 20549

                                                                                Form 6-K
                                                                   Report of Foreign Private Issuer
                                                                 Pursuant to Rule 13a-16 or 15d-16 of
                                                                 the Securities Exchange Act of 1934

                                                                      for the period ended 31 March 2010
                                                                       Commission File Number 1-06262


                                                                               BP p.l.c.
                                                                  (Translation of registrant’s name into English)

                                                         1 ST JAMES’S SQUARE, LONDON, SW1Y 4PD, ENGLAND
                                                                  (Address of principal executive offices)
          Indicate by check mark whether the registrant files or will file annual reports under cover of Form 20-F or Form 40-F.

                                                                           Form 20-F þ      Form 40-F o
          Indicate by check mark if the registrant is submitting the Form 6-K in paper as permitted by Regulation S-T Rule 101(b)(1):
          Indicate by check mark if the registrant is submitting the Form 6-K in paper as permitted by Regulation S-T Rule 101(b)(7):
          Indicate by check mark whether by furnishing the information contained in this Form, the registrant is also thereby furnishing the information to the
          Commission pursuant to Rule 12g3-2(b) under the Securities Exchange Act of 1934.

                                                                                  Yes o     No þ
          If “Yes” is marked, indicate below the file number assigned to the registrant in connection with Rule 12g3-2(b): 82-
          THIS REPORT ON FORM 6-K SHALL BE DEEMED TO BE INCORPORATED BY REFERENCE IN THE PROSPECTUS INCLUDED IN THE
          REGISTRATION STATEMENT ON FORM F-3 (FILE NO. 333-157906) OF BP CAPITAL MARKETS p.l.c. AND BP p.l.c.; THE PROSPECTUS
          INCLUDED IN THE REGISTRATION STATEMENT ON FORM F-3 (FILE NO. 333-155798) OF BP p.l.c., THE REGISTRATION STATEMENT ON
          FORM S-8 (FILE NO. 333-79399) OF BP p.l.c.,THE REGISTRATION STATEMENT ON FORM S-8 (FILE NO. 333-67206) OF BP p.l.c., THE
          REGISTRATION STATEMENT ON FORM S-8 (FILE NO. 333-103924) OF BP p.l.c., THE REGISTRATION STATEMENT ON FORM S-8 (FILE NO.
          333-102583) OF BP p.l.c., THE REGISTRATION STATEMENT ON FORM S-8 (FILE NO. 333-123482) OF BP p.l.c., THE REGISTRATION
          STATEMENT ON FORM S-8 (FILE NO. 333-123483) OF BP p.l.c., THE REGISTRATION STATEMENT ON FORM S-8 (FILE NO. 333-131583) OF BP
          p.l.c., THE REGISTRATION STATEMENT ON FORM S-8 (FILE NO. 333-131584) OF BP p.l.c., THE REGISTRATION STATEMENT ON FORM S-8
          (FILE NO. 333-132619) OF BP p.l.c., THE REGISTRATION STATEMENT ON FORM S-8 (FILE NO. 333-146868) OF BP p.l.c., THE REGISTRATION
          STATEMENT ON FORM S-8 (FILE NO. 333-146870) OF BP p.l.c., THE REGISTRATION STATEMENT ON FORM S-8 (FILE NO. 333-146873) OF BP
          p.l.c., THE REGISTRATION STATEMENT ON FORM S-8 (FILE NO. 333-149778) OF BP p.l.c., AND TO BE A PART THEREOF FROM THE DATE
          ON WHICH THIS REPORT IS FURNISHED, TO THE EXTENT NOT SUPERSEDED BY DOCUMENTS OR REPORTS SUBSEQUENTLY FILED OR
          FURNISHED.




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                                                                   BP p.l.c. AND SUBSIDIARIES
                                                        FORM 6-K FOR THE PERIOD ENDED 31 MARCH 2010(a)

                                                                                                                                                  Page
          1. Management’s Discussion and Analysis of Financial Condition and Results of Operations for the period January-March 2010(b)        3-10, 17-19

          2. Consolidated Financial Statements including Notes to Consolidated Financial Statements for the period January-March 2010         11-16, 20-24

          3. Signatures                                                                                                                                  25

          4. Exhibit 99.1: Computation of Ratio of Earnings to Fixed Charges                                                                             26

              Exhibit 99.2: Capitalization and Indebtedness                                                                                              27

          (a) In this Form 6-K, references to the first quarter 2010 and first quarter 2009 refer to the three-month periods ended 31 March
              2010 and 31 March 2009 respectively.

          (b) This discussion should be read in conjunction with the consolidated financial statements and related notes provided elsewhere
            in this Form 6-K and with the information, including the consolidated financial statements and related notes, in BP’s Annual
            Report on Form 20-F for the year ended 31 December 2009.
          EX-99.1
          EX-99.2

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          BP p.l.c.
          Group results
          First quarter 2010




                                                                                                                                                    London 29 April 2010

                                                                                                                                           First quarter
                                                                                                                                                                  2010 vs
                                                                                                                              2010                2009              2009
          $ million
          Profit for the period(a)                                                                                          6,079               2,562                  137%
          Inventory holding (gains) losses, net of tax                                                                       (481)               (175)
          Replacement cost profit(b)                                                                                        5,598               2,387                  135%

          — Profit per ordinary share (cents)                                                                               32.39               13.69                  137%
          — Profit per ADS (dollars)                                                                                         1.94                0.82
          — Replacement cost profit per ordinary share (cents)                                                              29.82               12.75                  134%
          — Replacement cost profit per ADS (dollars)                                                                        1.79                0.77

          • BP’s first-quarter replacement cost profit was $5,598 million, compared with $2,387 million a year ago, an increase of 135%. Replacement cost profit
            for the group is a non-GAAP measure. For further information see pages 4 and 16. BP’s profit for the first quarter was $6,079 million, compared with
            $2,562 million a year ago.
          • Non-operating items and fair value accounting effects for the first quarter had a net $49 million unfavourable impact compared with a net $194 million
            unfavourable impact in the first quarter of 2009. Information on fair value accounting effects is non-GAAP and further details are provided on page 18.
          • Finance costs and net finance income or expense relating to pensions and other post-retirement benefits were $228 million for the first quarter, compared
            with $368 million for the same period last year.
          • The effective tax rate on replacement cost profit for the first quarter was 34%, compared with 37.5% a year ago. The effective tax rate on profit for the
            first quarter was 34%, compared with 37.1% a year ago.
          • Net cash provided by operating activities for the first quarter was $7.7 billion, compared with $5.6 billion a year ago.
          • Net debt at the end of the first quarter was $25.2 billion. The ratio of net debt to net debt plus equity was 19% compared with 23% a year ago. Net debt
            information is non-GAAP and is defined on page 5. Gross finance debt at the end of the quarter was $32.2 billion compared to $34.7 billion a year ago.
            The ratio of gross debt to gross debt plus equity was 23%, compared with 28% a year ago.
          • Total capital expenditure, including acquisitions and asset exchanges, for the first quarter was $4.7 billion. Organic capital expenditure(c) in the first
            quarter was $3.8 billion. Disposal proceeds were $0.1 billion for the first quarter. For 2010 as a whole, we continue to expect organic capital
            expenditure of around $20 billion and disposal proceeds of $2-3 billion.
          •   The quarterly dividend, to be paid on 21 June 2010, is 14 cents per share ($0.84 per ADS), the same as a year ago. The corresponding amount in
              sterling will be announced on 8 June 2010. A scrip dividend alternative is available, allowing shareholders to elect to receive their dividend in the form
              of new ordinary shares and ADS holders in the form of new ADSs. Details of the scrip dividend programme are available at www.bp.com/scrip.

          (a) Profit attributable to BP shareholders.

          (b) Replacement cost profit reflects the replacement cost of supplies and is the measure of profit or loss for each operating segment that is required to be
              disclosed under International Financial Reporting Standards, as explained in more detail on page 16. The replacement cost profit for the period is
              arrived at by excluding from profit inventory holding gains and losses and their associated tax effect. Replacement cost profit for the group is not a
              recognized GAAP measure.
              Management believes this information is useful to illustrate to investors the fact that crude oil and product prices can vary significantly from period to
              period and that the impact on our reported result under IFRS can be significant. Inventory holding gains and losses vary from period to period due
              principally to changes in oil prices as well as changes to underlying inventory levels. In order for investors to understand the operating performance of
              the group excluding the impact of oil price changes on the replacement of inventories, and to make comparisons of operating performance between
              reporting periods, BP’s management believes it is helpful to disclose this information.
          (c) Organic capital expenditure excludes acquisitions and asset exchanges and the accounting for our transaction with Value Creation Inc. (see page 15).


          The commentaries above and following should be read in conjunction with the cautionary statement on page 10.

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                                                        Analysis of replacement cost profit before interest and tax and
                                                                     reconciliation to profit for the period

                                                                                                                                                  First quarter
                                                                                                                                               2010                 2009
          $ million
          Exploration and Production                                                                                                         8,292                4,320
          Refining and Marketing                                                                                                               729                1,090
          Other businesses and corporate                                                                                                      (328)                (761)
          Consolidation adjustment                                                                                                             208                 (405)
          RC profit before interest and tax(a)                                                                                               8,901                4,244

          Finance costs and net finance income or expense relating to pensions and other post-retirement benefits                              (228)                (368)
          Taxation on a replacement cost basis                                                                                               (2,966)              (1,454)
          Minority interest                                                                                                                    (109)                 (35)
          Replacement cost profit attributable to BP shareholders                                                                             5,598                2,387

          Inventory holding gains (losses)                                                                                                     705                  254
          Taxation (charge) credit on inventory holding gains and losses                                                                      (224)                 (79)
          Profit for the period attributable to BP shareholders                                                                              6,079                2,562


          (a)   Replacement cost profit reflects the replacement cost of supplies. Replacement cost profit for the group is a non-GAAP measure. For further
                information see page 16.


                                                      Total of non-operating items and fair value accounting effects(a)(b)

                                                                                                                                                  First quarter
                                                                                                                                               2010                 2009
          $ million
          Exploration and Production                                                                                                            104                 469
          Refining and Marketing                                                                                                                (60)               (459)
          Other businesses and corporate                                                                                                       (118)               (321)
                                                                                                                                                (74)               (311)
          Taxation credit (charge)(c)                                                                                                            25                 117
                                                                                                                                                (49)               (194)


          (a)   An analysis of non-operating items by type is provided on page 17 and an analysis by region is shown on pages 7, 9 and 10.
          (b)   Information on fair value accounting effects is non-GAAP. For further details, see page 18.
          (c)   Tax is calculated using the quarter’s effective tax rate on replacement cost profit.

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                                                                                 Per share amounts

                                                                                                                                                   First quarter
                                                                                                                                                2010                 2009
          Per ordinary share (cents) (a)
          Profit for the period                                                                                                               32.39                 13.69
          RC profit for the period                                                                                                            29.82                 12.75

          Per ADS (dollars)(a)
          Profit for the period                                                                                                                 1.94                 0.82
          RC profit for the period                                                                                                              1.79                 0.77


          (a)   See Note 4 on page 22 for details of the calculation of earnings per share.


                                                                   Net debt ratio — net debt: net debt + equity

                                                                                                                                                   First quarter
                                                                                                                                                2010                 2009
          $ million
          Gross debt                                                                                                                         32,153                34,698
          Less: fair value asset (liability) of hedges related to finance debt                                                                  152                  (323)
                                                                                                                                             32,001                35,021
          Cash and cash equivalents                                                                                                           6,841                 8,360
          Net debt                                                                                                                           25,160                26,661
          Equity                                                                                                                            104,978                91,179
          Net debt ratio                                                                                                                       19%                   23%
          Net debt and net debt ratio are non-GAAP measures. Net debt includes the fair value of associated derivative financial instruments that are used to hedge
          foreign exchange and interest rate risks relating to finance debt, for which hedge accounting is claimed. The derivatives are reported on the balance sheet
          within the headings ‘Derivative financial instruments’. We believe that net debt and net debt ratio provide useful information to investors. Net debt enables
          investors to see the economic effect of gross debt, related hedges and cash and cash equivalents in total. The net debt ratio enables investors to see how
          significant net debt is relative to equity from shareholders.


                                                                                     Dividends

          Dividends Payable
          BP has announced a dividend of 14 cents per ordinary share to be paid in June. The corresponding amount in sterling will be announced on 8 June 2010, and
          calculated from the average of the market exchange rates for the four dealing days commencing on 2 June 2010. Holders of American Depositary Shares
          (ADSs) will receive $0.84 per ADS. The dividend is payable on 21 June 2010 to shareholders and ADS holders on the register on 7 May 2010. A scrip
          dividend alternative is available, allowing shareholders to elect to receive their dividend in the form of new ordinary shares and ADS holders in the form of
          new ADSs. Details of the scrip dividend programme including the first quarter interim dividend and timetable are available at www.bp.com/scrip.

                                                                                                                                                   First quarter
          Dividends Paid                                                                                                                        2010                 2009
          Dividends paid per ordinary share
            cents                                                                                                                            14.000                14.000
            pence                                                                                                                             8.679                 9.818
          Dividends paid per ADS (cents)                                                                                                      84.00                 84.00

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                                                                            Exploration and Production

                                                                                                                                                       First quarter
                                                                                                                                                    2010                2009
          $ million
          Profit before interest and tax(a)                                                                                                       8,316                4,286
          Inventory holding (gains) losses                                                                                                          (24)                  34
          Replacement cost profit before interest and tax(b)                                                                                      8,292                4,320

          By region
          US                                                                                                                                      2,762                1,143
          Non-US                                                                                                                                  5,530                3,177
                                                                                                                                                  8,292                4,320


          (a)   Includes profit after interest and tax of equity-accounted entities.
          (b)   See page 16 for information on replacement cost reporting for operating segments.
          The replacement cost profit before interest and tax for the first quarter was $8,292 million, an increase of 92% compared with the first quarter of 2009. This
          increase was primarily due to higher realizations and higher earnings from equity-accounted entities (mainly TNK-BP), partly offset by a lower contribution
          from the gas marketing and trading business, higher production taxes and higher depreciation. Unit production costs were 3% lower than a year ago after
          adjusting for restructuring costs, and were 3% higher than a year ago including restructuring costs. Unit production costs after adjusting for restructuring
          costs is a non-GAAP measure – see page 19 for details.
          The net non-operating gain of $41 million in the first quarter primarily relates to fair value gains on embedded derivatives, partly offset by restructuring
          costs. The corresponding quarter in 2009 included a net non-operating gain of $311 million. Additionally, in the first quarter, fair value accounting effects
          had a favourable impact of $63 million compared with a favourable impact of $158 million a year ago.
          Production for the quarter was 4,010mboe/d, broadly flat with the first quarter of 2009 reflecting continued strong operational performance. After adjusting
          for entitlement impacts in our production-sharing agreements (PSAs) production was 1% higher. As previously indicated, we expect production in 2010 to
          be slightly lower than in 2009. The actual outcome will depend on a number of factors including the oil price and its impact on PSAs and OPEC quota
          restrictions. In the second quarter, we expect a normal seasonal turnaround effect of around 100mboe/d. These turnaround activities are planned for some of
          our higher-margin areas including the North Sea and the Gulf of Mexico, where activity is currently under way at Thunder Horse. This will impact costs and
          margins as well as volumes.
          Two major projects started up during the first quarter. In the ultra-deepwater Gulf of Mexico, first oil was achieved from the Great White field (BP 33.3%).
          In Canada, the Noel major project commenced exporting and selling gas.
          During the quarter, we announced that BP will pay Devon Energy $7.0 billion for assets in Brazil, Azerbaijan and the US deepwater Gulf of Mexico. These
          include ten exploration blocks in Brazil; a major portfolio of deepwater exploration acreage and prospects in the US Gulf of Mexico; and an interest in the
          ACG development in the Caspian Sea. Completion of certain of these transfers is subject to regulatory approvals and other third-party consents. In addition,
          BP will sell to Devon Energy a 50% stake in our Kirby oil sands interests in Alberta, Canada, for $500 million. The parties have agreed to form a 50:50
          joint venture, operated by Devon, to pursue the development of Kirby. Devon will commit to fund an additional $150 million of capital costs on BP’s behalf.
          Also during the quarter, BP and Value Creation Inc. (VCI) of Calgary agreed to form a partnership to explore and develop the Terre de Grace oil sands
          acreage, in the Athabasca region of Alberta, Canada, using in-situ techniques. BP will hold a 75% interest and VCI a 25% interest in a newly formed
          partnership. BP has agreed to pay $900 million for the interest with $500 million paid in cash at closing.
          Furthermore, on behalf of our partners, BP announced the first major contracts to support the expansion of production from the Rumaila field in southern Iraq
          (BP has a 38% working interest).
          After the end of the quarter, BP agreed with Total to acquire its 15.7% interest in Valhall and its 25% interest in Hod, both fields located in the southern part
          of the Norwegian continental shelf, for the sum of $991 million to be paid in cash. The agreement will deepen BP’s position as operator by giving BP a
          43.8% interest in Valhall and 50% in Hod, subject to third-party consents and government approval. The deal has an effective date of 1 January 2010.
          On 20 April 2010, the semi-submersible drilling rig Deepwater Horizon owned and operated by Transocean Limited caught fire in the US Gulf of Mexico
          and subsequently sank. The rig was drilling an exploration well (Mississippi Canyon 252) in which BP has a 65% interest. As operator under the MC 252
          lease, BP is committed to doing everything in its power to contain the environmental consequences of the incident. BP is currently ramping up preparations
          for a major cleaning effort on the shorelines of Louisiana, Mississippi, Alabama and Florida. Efforts continue to stem the flow of oil from the well, currently
          estimated at up to 5,000 barrels a day. Preliminary estimates indicate that current efforts to contain the spill and secure the well are costing the MC 252
          owners about $6 million per day. This figure is expected to rise as activity increases. It is too early to quantify other potential costs and liabilities associated
          with the incident.

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                                                                           Exploration and Production

                                                                                                                                               First quarter
                                                                                                                                            2010                2009
          $ million
          Non-operating items
          US                                                                                                                                (62)                   71
          Non-US                                                                                                                            103                   240
                                                                                                                                             41                   311

          Fair value accounting effects(a)
          US                                                                                                                                 81                   208
          Non-US                                                                                                                            (18)                  (50)
                                                                                                                                             63                   158

          Exploration expense
          US                                                                                                                                 69                    44
          Non-US                                                                                                                             51                    75
                                                                                                                                            120                   119

          Production (net of royalties) (b)
          Liquids (mb/d) (net of royalties)(c)
          US                                                                                                                                665                  643
          Europe                                                                                                                            215                  212
          Russia                                                                                                                            849                  822
          Rest of World                                                                                                                     798                  827
                                                                                                                                          2,527                2,504
          Of which equity-accounted entities                                                                                              1,132                1,116
          Natural gas (mmcf/d) (net of royalties)
          US                                                                                                                              2,221                2,335
          Europe                                                                                                                            599                  838
          Russia                                                                                                                            673                  642
          Rest of World                                                                                                                   5,107                4,952
                                                                                                                                          8,600                8,767
          Of which equity-accounted entities                                                                                              1,093                1,072
          Total hydrocarbons (mboe/d)(d)
          US                                                                                                                              1,048                1,046
          Europe                                                                                                                            318                  357
          Russia                                                                                                                            965                  933
          Rest of World                                                                                                                   1,679                1,680
                                                                                                                                          4,010                4,016
          Of which equity-accounted entities                                                                                              1,320                1,301
          Average realizations(e)
          Total liquids ($/bbl)                                                                                                           71.86                41.26
          Natural gas ($/mcf)                                                                                                              4.26                 3.63
          Total hydrocarbons ($/boe)                                                                                                      49.16                31.40


          (a)   These effects represent the favourable (unfavourable) impact relative to management’s measure of performance. Further information on fair value
                accounting effects is provided on page 18.
          (b)   Includes BP’s share of production of equity-accounted entities.
          (c)   Crude oil and natural gas liquids.
          (d)   Natural gas is converted to oil equivalent at 5.8 billion cubic feet = 1 million barrels.
          (e)   Based on sales of consolidated subsidiaries only — this excludes equity-accounted entities.
          Because of rounding, some totals may not agree exactly with the sum of their component parts.

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                                                                              Refining and Marketing

                                                                                                                                                     First quarter
                                                                                                                                                  2010                2009
          $ million
          Profit before interest and tax(a)                                                                                                     1,408                1,417
          Inventory holding (gains) losses                                                                                                       (679)                (327)
          Replacement cost profit before interest and tax(b)                                                                                      729                1,090

          By region
          US                                                                                                                                      (63)                 308
          Non-US                                                                                                                                  792                  782
                                                                                                                                                  729                1,090


          (a)   Includes profit after interest and tax of equity-accounted entities.
          (b)   See page 16 for information on replacement cost reporting for operating segments.
          The replacement cost profit before interest and tax for the first quarter was $729 million, compared with $1,090 million for the same period last year.
          The first quarter’s result included a net non-operating charge of $70 million compared with a net charge of $350 million a year ago. Fair value accounting
          effects had a favourable impact of $10 million in the first quarter compared with an unfavourable impact of $109 million in the first quarter of 2009.
          Compared with a year ago, the result reflected a significantly weaker supply and trading contribution in contrast to the particularly strong contribution in the
          first quarter of last year. The result was also impacted by a weaker refining environment, with the indicator margin at around half the level of the same
          period in 2009, and marketing margins for some products compressed by rising crude prices. These factors were partially offset by operational
          improvements and further cost efficiencies in the fuels value chains, and continued strong performance in the international businesses. In addition, BP’s
          actual refining margins fell by less than the indicator would suggest as a result of BP’s highly upgraded refining portfolio.
          In the fuels value chains, Solomon refining availability was up by three percentage points year on year to 95.3%, the highest level since 2004. Refining
          throughput increased by over 8% compared with the same quarter last year and by over 5% compared with the previous quarter, principally driven by
          increased throughputs in our US refineries.
          In the international businesses, our petrochemicals business had a particularly strong quarter with production volumes up almost 40% compared with the
          same period last year and 12% on the previous quarter.
          In February, BP announced that it had received an offer from Delek Europe B.V. for the retail fuels and convenience business and selected fuels terminals in
          France. As a result, BP has agreed a period of exclusivity with Delek Europe B.V. to negotiate the terms for the sale and to allow consultation with the
          relevant works councils. Any transaction will be subject to regulatory approval and is expected to include a BP brand licence agreement.
          In March, BP announced that in sub-Saharan Africa it intends to sell its marketing businesses in Namibia, Malawi, Tanzania, Zambia and Botswana and
          focus its fuel marketing activities on South Africa and Mozambique.
          There has been some improvement in refining margins in the early part of the second quarter although we expect opportunities for further improvement to be
          limited. BP’s refinery turnaround activities are expected to be higher in the second quarter than in the first. Continued low market volatility would limit the
          supply and trading contribution in the quarter. In the international businesses, we expect the current petrochemicals margins to come under some pressure as
          new capacity comes onstream.

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                                                                             Refining and Marketing

                                                                                                                                                    First quarter
                                                                                                                                                 2010                2009
           $ million
           Non-operating items
           US                                                                                                                                      (3)              (134)
           Non-US                                                                                                                                 (67)              (216)
                                                                                                                                                  (70)              (350)

           Fair value accounting effects(a)
           US                                                                                                                                      16                 65
           Non-US                                                                                                                                  (6)              (174)
                                                                                                                                                   10               (109)

           Refinery throughputs (mb/d)
           US                                                                                                                                  1,366                1,164
           Europe                                                                                                                                780                  783
           Rest of World                                                                                                                         282                  299
           Total throughput                                                                                                                    2,428                2,246
           Refining availability (%) (b)                                                                                                        95.3                 92.3

           Sales volumes (mb/d)(c)
           Marketing sales by region
           US                                                                                                                                  1,418                1,402
           Europe                                                                                                                              1,428                1,529
           Rest of World                                                                                                                         629                  617
           Total marketing sales                                                                                                               3,475                3,548
           Trading/supply sales                                                                                                                2,622                2,312
           Total refined product sales                                                                                                         6,097                5,860

           Global Indicator Refining Margin (GIM) ($/bbl) (d)
           US Gulf Coast                                                                                                                         3.50                6.69
           US Midwest                                                                                                                            1.86                7.03
           US West Coast                                                                                                                         3.32                9.96
           North West Europe                                                                                                                     4.29                4.67
           Mediterranean                                                                                                                         3.11                3.56
           Singapore                                                                                                                             0.97                2.51
           BP Average GIM                                                                                                                        3.08                6.20

           Chemicals production (kte)
           US                                                                                                                                    940                  713
           Europe                                                                                                                                981                  788
           Rest of World                                                                                                                       1,887                1,244
           Total production                                                                                                                    3,808                2,745


           (a)   These effects represent the favourable (unfavourable) impact relative to management’s measure of performance. Further information on fair value
                 accounting effects is provided on page 18.
           (b)   Refining availability represents Solomon Associates’ operational availability, which is defined as the percentage of the year that a unit is available
                 for processing after subtracting the annualized time lost due to turnaround activity and all planned mechanical, process and regulatory maintenance
                 downtime.
           (c)   Does not include volumes relating to crude oil.
           (d)   The Global Indicator Refining Margin (GIM) is the average of regional indicator margins weighted for BP’s crude refining capacity in each region.
                 Each regional indicator margin is based on a single representative crude with product yields characteristic of the typical level of upgrading
                 complexity. The regional indicator margins may not be representative of the margins achieved by BP in any period because of BP’s particular refinery
                 configurations and crude and product slate.

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                                                                           Other businesses and corporate

                                                                                                                                                   First quarter
                                                                                                                                           2010                    2009
           $ million
           Profit (loss) before interest and tax(a)                                                                                        (326)                   (800)
           Inventory holding (gains) losses                                                                                                  (2)                     39
           Replacement cost profit (loss) before interest and tax(b)                                                                       (328)                   (761)

           By region
           US                                                                                                                              (231)                   (279)
           Non-US                                                                                                                           (97)                   (482)
                                                                                                                                           (328)                   (761)

           Results include
           Non-operating items
           US                                                                                                                              (106)                   (116)
           Non-US                                                                                                                           (12)                   (205)
                                                                                                                                           (118)                   (321)


           (a)   Includes profit after interest and tax of equity-accounted entities.
           (b)   See page 16 for information on replacement cost reporting for operating segments.
           Other businesses and corporate comprises the Alternative Energy business, Shipping, the group’s aluminium asset, Treasury (which includes interest income
           on the group’s cash and cash equivalents), and corporate activities worldwide.
           The replacement cost loss before interest and tax for the first quarter was $328 million, compared with a loss of $761 million a year ago. The net
           non-operating charge for the first quarter was $118 million, compared with a net charge of $321 million a year ago. In addition, there were favourable
           foreign exchange effects and lower costs, and improved margins in Alternative Energy.
           In Alternative Energy, our solar business achieved sales of 54MW in the first quarter. In March, BP Solar announced the closure of manufacturing at its
           Frederick facility, in Maryland, US, as it moves its manufacturing to lower-cost locations. BP Solar will maintain its US presence in sales and marketing,
           research and technology, project development, and key business support activities.
           In our US wind business, construction has commenced at the 125MW Goshen North wind farm (BP 50%) in Bonneville County, Idaho. BP’s net wind
           generation capacity(c) at the end of the first quarter was 711MW (1,237MW gross), compared with 678MW (1,113MW gross) at the end of the same period
           a year ago.


           (c)   Net wind capacity is the sum of the rated capacities of the assets/turbines that have entered into commercial operation, including BP’s share of equity-
                 accounted entities. The gross data is the equivalent capacity on a gross-JV basis, which includes 100% of the capacity of equity-accounted entities
                 where BP has partial ownership.


            Cautionary statement regarding forward-looking statements: The foregoing discussion contains forward-looking statements particularly those
            regarding production and quarterly phasing of production, second quarter seasonal turn-around effect and its impact on costs, margins and volumes;
            refining and petrochemicals margins; refinery turnaround activities; expected supply and trading contribution in the second quarter; dividend and
            optional scrip dividend. By their nature, forward-looking statements involve risk and uncertainty because they relate to events and depend on
            circumstances that will or may occur in the future. Actual results may differ from those expressed in such statements, depending on a variety of
            factors including the timing of bringing new fields onstream; future levels of industry product supply; demand and pricing; OPEC quota restrictions;
            PSA effects; operational problems; general economic conditions; political stability and economic growth in relevant areas of the world; changes in
            laws and governmental regulations; regulatory or legal actions; exchange rate fluctuations; development and use of new technology; the success or
            otherwise of partnering; the actions of competitors; natural disasters and adverse weather conditions; changes in public expectations and other
            changes to business conditions; wars and acts of terrorism or sabotage; and other factors discussed in this Announcement. For more information you
            should refer to our Annual Report and Accounts 2009 and our 2009 Annual Report on Form 20-F filed with the US Securities and Exchange
            Commission.

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                                                                                Group income statement

                                                                                                                   First quarter
                                                                                                           2010                      2009
           $ million
           Sales and other operating revenues (Note 2)                                                   73,071                    47,296
           Earnings from jointly controlled entities — after interest and tax                               403                       220
           Earnings from associates — after interest and tax                                                763                       285
           Interest and other income                                                                        142                       203
           Gains on sale of businesses and fixed assets                                                      38                        81
           Total revenues and other income                                                               74,417                    48,085

           Purchases                                                                                     51,641                    30,777
           Production and manufacturing expenses (Note 3)                                                 5,740                     5,894
           Production and similar taxes (Note 3)                                                          1,276                       674
           Depreciation, depletion and amortization                                                       2,996                     2,823
           Impairment and losses on sale of businesses and fixed assets                                     164                       137
           Exploration expense                                                                              120                       119
           Distribution and administration expenses                                                       3,020                     3,349
           Fair value (gain) loss on embedded derivatives                                                  (146)                     (186)
           Profit before interest and taxation                                                            9,606                     4,498
           Finance costs                                                                                    238                       318
           Net finance (income) expense relating to pensions and other post-retirement benefits             (10)                       50
           Profit before taxation                                                                         9,378                     4,130
           Taxation                                                                                       3,190                     1,533
           Profit for the period                                                                          6,188                     2,597
           Attributable to
              BP shareholders                                                                             6,079                     2,562
              Minority interest                                                                             109                        35
                                                                                                          6,188                     2,597

           Earnings per share — cents (Note 4)
           Profit for the period attributable to BP shareholders
           Basic                                                                                          32.39                     13.69
           Diluted                                                                                        31.99                     13.54

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                                                                 Group statement of comprehensive income

                                                                                                                                 First quarter
                                                                                                                              2010                  2009
           $ million
           Profit for the period                                                                                             6,188                 2,597
           Currency translation differences                                                                                   (526)               (1,011)
           Available-for-sale investments marked to market                                                                     (93)                   74
           Available-for-sale investments – recycled to the income statement                                                    —                      2
           Cash flow hedges marked to market                                                                                  (162)                 (211)
           Cash flow hedges – recycled to the income statement                                                                 (94)                  239
           Cash flow hedges – recycled to the balance sheet                                                                     13                    71
           Taxation                                                                                                           (119)                  (82)
           Other comprehensive income                                                                                         (981)                 (918)
           Total comprehensive income                                                                                        5,207                 1,679
           Attributable to
              BP shareholders                                                                                                5,105                 1,668
              Minority interest                                                                                                102                    11
                                                                                                                             5,207                 1,679


                                                                    Group statement of changes in equity

                                                                                                                     BP
                                                                                                           shareholders’   Minority                 Total
                                                                                                                  equity   interest                equity
           $ million
           At 31 December 2009                                                                                101,613         500                102,113

           Total comprehensive income                                                                            5,105        102                  5,207
           Dividends                                                                                            (2,626)        (3)                (2,629)
           Share-based payments (net of tax)                                                                       (13)        —                     (13)
           Transactions involving minority interests                                                                —         300                    300

           At 31 March 2010                                                                                   104,079         899                104,978

                                                                                                                     BP
                                                                                                           shareholders’   Minority                 Total
                                                                                                                  equity   interest                equity
           $ million
           At 31 December 2008                                                                                  91,303         806                92,109

           Total comprehensive income                                                                            1,668          11                 1,679
           Dividends                                                                                            (2,619)       (111)               (2,730)
           Share-based payments (net of tax)                                                                       121          —                    121

           At 31 March 2009                                                                                     90,473         706                91,179

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                                                                               Group balance sheet

                                                                                                     31 March   31 December
                                                                                                         2010          2009
           $ million
           Non-current assets
           Property, plant and equipment                                                             108,232       108,275
           Goodwill                                                                                    8,409         8,620
           Intangible assets                                                                          12,675        11,548
           Investments in jointly controlled entities                                                 15,484        15,296
           Investments in associates                                                                  13,396        12,963
           Other investments                                                                           1,459         1,567
           Fixed assets                                                                              159,655       158,269
           Loans                                                                                         982         1,039
           Other receivables                                                                           2,216         1,729
           Derivative financial instruments                                                            4,770         3,965
           Prepayments                                                                                 1,359         1,407
           Deferred tax assets                                                                           464           516
           Defined benefit pension plan surpluses                                                      1,494         1,390
                                                                                                     170,940       168,315
           Current assets
           Loans                                                                                         236           249
           Inventories                                                                                23,221        22,605
           Trade and other receivables                                                                31,159        29,531
           Derivative financial instruments                                                            5,355         4,967
           Prepayments                                                                                 2,647         1,753
           Current tax receivable                                                                        238           209
           Cash and cash equivalents                                                                   6,841         8,339
                                                                                                      69,697        67,653
           Total assets                                                                              240,637       235,968
           Current liabilities
           Trade and other payables                                                                   38,146        35,204
           Derivative financial instruments                                                            5,530         4,681
           Accruals                                                                                    5,482         6,202
           Finance debt                                                                                8,356         9,109
           Current tax payable                                                                         2,624         2,464
           Provisions                                                                                  1,646         1,660
                                                                                                      61,784        59,320
           Non-current liabilities
           Other payables                                                                              3,206         3,198
           Derivative financial instruments                                                            3,899         3,474
           Accruals                                                                                      656           703
           Finance debt                                                                               23,797        25,518
           Deferred tax liabilities                                                                   20,156        18,662
           Provisions                                                                                 12,752        12,970
           Defined benefit pension plan and other post-retirement benefit plan deficits                9,409        10,010
                                                                                                      73,875        74,535
           Total liabilities                                                                         135,659       133,855
           Net assets                                                                                104,978       102,113
           Equity
           BP shareholders’ equity                                                                   104,079       101,613
           Minority interest                                                                             899           500
                                                                                                     104,978       102,113

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                                                                     Condensed group cash flow statement

                                                                                                                                                 First quarter
                                                                                                                                              2010                 2009
           $ million
           Operating activities
           Profit before taxation                                                                                                            9,378               4,130
           Adjustments to reconcile profit before taxation to net cash provided by operating activities
              Depreciation, depletion and amortization and exploration expenditure written off                                               3,017               2,849
              Impairment and (gain) loss on sale of businesses and fixed assets                                                                126                  56
              Earnings from equity-accounted entities, less dividends received                                                                (669)               (252)
              Net charge for interest and other finance expense, less net interest paid                                                         46                  89
              Share-based payments                                                                                                            (146)                 86
              Net operating charge for pensions and other post-retirement benefits, less contributions and benefit payments for
                 unfunded plans                                                                                                               (490)                  26
              Net charge for provisions, less payments                                                                                         (48)                 281
              Movements in inventories and other current and non-current assets and liabilities(a)                                          (1,940)                  32
              Income taxes paid                                                                                                             (1,581)              (1,725)
           Net cash provided by operating activities                                                                                         7,693                5,572
           Investing activities
           Capital expenditure                                                                                                              (4,289)              (4,817)
           Acquisitions, net of cash acquired                                                                                                   —                    —
           Investment in jointly controlled entities                                                                                           (82)                (103)
           Investment in associates                                                                                                             (6)                 (47)
           Proceeds from disposal of fixed assets                                                                                              108                  311
           Proceeds from disposal of businesses, net of cash disposed                                                                           —                    —
           Proceeds from loan repayments                                                                                                        56                  117
           Other                                                                                                                                —                    47
           Net cash used in investing activities                                                                                            (4,213)              (4,492)
           Financing activities
           Net issue of shares                                                                                                                 128                   35
           Proceeds from long-term financing                                                                                                   342                4,619
           Repayments of long-term financing                                                                                                (2,495)              (2,580)
           Net decrease in short-term debt                                                                                                    (247)                (182)
           Dividends paid – BP shareholders                                                                                                 (2,626)              (2,619)
                            – Minority interest                                                                                                 (3)                (111)
           Net cash used in financing activities                                                                                            (4,901)                (838)
           Currency translation differences relating to cash and cash equivalents                                                              (77)                 (79)
           Increase (decrease) in cash and cash equivalents                                                                                 (1,498)                 163
           Cash and cash equivalents at beginning of period                                                                                  8,339                8,197
           Cash and cash equivalents at end of period                                                                                        6,841                8,360


           (a)   Includes
                    Inventory holding (gains) losses                                                                                          (705)               (254)
                    Fair value (gain) loss on embedded derivatives                                                                            (146)               (186)

                   Inventory holding gains and losses and fair value gains and losses on embedded derivatives are also included within profit before taxation.

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                                                                      Capital expenditure and acquisitions

                                                                                                                                                  First quarter
                                                                                                                                               2010                2009
           $ million
           By business
           Exploration and Production
           US                                                                                                                                1,133                1,670
           Non-US(a)                                                                                                                         2,815                2,035
                                                                                                                                             3,948                3,705
           Refining and Marketing
           US                                                                                                                                  528                 567
           Non-US                                                                                                                              144                 226
                                                                                                                                               672                 793
           Other businesses and corporate
           US                                                                                                                                   28                   56
           Non-US                                                                                                                               39                   41
                                                                                                                                                67                   97
                                                                                                                                             4,687                4,595
           By geographical area
           US                                                                                                                                1,689                2,293
           Non-US(a)                                                                                                                         2,998                2,302
                                                                                                                                             4,687                4,595
           Included above:
           Acquisitions and asset exchanges                                                                                                      —                  —


           (a)   First quarter 2010 included capital expenditure of $900 million in Exploration and Production relating to the formation of a partnership with Value
                 Creation Inc. to develop the Terre de Grace oil sands acreage in the Athabasca region of Alberta, Canada.


                                                                                 Exchange rates

                                                                                                                                                  First quarter
                                                                                                                                               2010                2009
           US dollar/sterling average rate for the period                                                                                      1.56                1.43
           US dollar/sterling period-end rate                                                                                                  1.51                1.42
           US dollar/euro average rate for the period                                                                                          1.38                1.30
           US dollar/euro period-end rate                                                                                                      1.34                1.32

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                                  Analysis of replacement cost profit before interest and tax and reconciliation to profit before taxation(a)

                                                                                                                                                     First quarter
                                                                                                                                                  2010                2009
           $ million
           By business
           Exploration and Production
           US                                                                                                                                    2,762               1,143
           Non-US                                                                                                                                5,530               3,177
                                                                                                                                                 8,292               4,320
           Refining and Marketing
           US                                                                                                                                      (63)                308
           Non-US                                                                                                                                  792                 782
                                                                                                                                                   729               1,090
           Other businesses and corporate
           US                                                                                                                                     (231)               (279)
           Non-US                                                                                                                                  (97)               (482)
                                                                                                                                                  (328)               (761)
                                                                                                                                                 8,693               4,649
           Consolidation adjustment                                                                                                                208                (405)
           Replacement cost profit before interest and tax(b)                                                                                    8,901               4,244
           Inventory holding gains (losses)(c)
           Exploration and Production                                                                                                               24                 (34)
           Refining and Marketing                                                                                                                  679                 327
           Other businesses and corporate                                                                                                            2                 (39)
           Profit before interest and tax                                                                                                        9,606               4,498
           Finance costs                                                                                                                           238                 318
           Net finance (income) expense relating to pensions and other post-retirement benefits                                                    (10)                 50
           Profit before taxation                                                                                                                9,378               4,130

           Replacement cost profit (loss) before interest and tax
           By geographical area
           US                                                                                                                                    2,590                 854
           Non-US                                                                                                                                6,311               3,390
                                                                                                                                                 8,901               4,244


           (a)   IFRS requires that the measure of profit or loss disclosed for each operating segment is the measure that is provided regularly to the chief operating
                 decision maker for the purposes of performance assessment and resource allocation. For BP, this measure of profit or loss is replacement cost profit
                 before interest and tax. In addition, a reconciliation is required between the total of the operating segments’ measures of profit or loss and the group
                 profit or loss before taxation.
           (b)   Replacement cost profit reflects the replacement cost of supplies. The replacement cost profit for the period is arrived at by excluding from profit
                 inventory holding gains and losses and their associated tax effect. Replacement cost profit for the group is not a recognized GAAP measure.
           (c)   Inventory holding gains and losses represent the difference between the cost of sales calculated using the average cost to BP of supplies acquired
                 during the period and the cost of sales calculated on the first-in first-out (FIFO) method after adjusting for any changes in provisions where the net
                 realizable value of the inventory is lower than its cost. Under the FIFO method, which we use for IFRS reporting, the cost of inventory charged to the
                 income statement is based on its historic cost of purchase, or manufacture, rather than its replacement cost. In volatile energy markets, this can have a
                 significant distorting effect on reported income. The amounts disclosed represent the difference between the charge (to the income statement) for
                 inventory on a FIFO basis (after adjusting for any related movements in net realizable value provisions) and the charge that would have arisen if an
                 average cost of supplies was used for the period. For this purpose, the average cost of supplies during the period is principally calculated on a
                 monthly basis by dividing the total cost of inventory acquired in the period by the number of barrels acquired. The amounts disclosed are not
                 separately reflected in the financial statements as a gain or loss. No adjustment is made in respect of the cost of inventories held as part of a trading
                 position and certain other temporary inventory positions.

                 Management believes this information is useful to illustrate to investors the fact that crude oil and product prices can vary significantly from period to
                 period and that the impact on our reported result under IFRS can be significant. Inventory holding gains and losses vary from period to period due
                 principally to changes in oil prices as well as changes to underlying inventory levels. In order for investors to understand the operating performance
                 of the group excluding the impact of oil price changes on the replacement of inventories, and to make comparisons of operating performance between
                 reporting periods, BP’s management believes it is helpful to disclose this information.

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                                                                               Non-operating items(a)

                                                                                                                                                       First quarter
                                                                                                                                                2010                   2009
           $ million
           Exploration and Production
           Impairment and gain (loss) on sale of businesses and fixed assets                                                                    (13)                    73
           Environmental and other provisions                                                                                                    —                      —
           Restructuring, integration and rationalization costs                                                                                (104)                    (1)
           Fair value gain (loss) on embedded derivatives                                                                                       146                    243
           Other                                                                                                                                 12                     (4)
                                                                                                                                                 41                    311
           Refining and Marketing
           Impairment and gain (loss) on sale of businesses and fixed assets                                                                     (45)                   (21)
           Environmental and other provisions                                                                                                     —                      —
           Restructuring, integration and rationalization costs                                                                                   12                   (263)
           Fair value gain (loss) on embedded derivatives                                                                                         —                     (57)
           Other                                                                                                                                 (37)                    (9)
                                                                                                                                                 (70)                  (350)
           Other businesses and corporate
           Impairment and gain (loss) on sale of businesses and fixed assets                                                                     (68)                  (108)
           Environmental and other provisions                                                                                                     —                     (75)
           Restructuring, integration and rationalization costs                                                                                  (38)                   (71)
           Fair value gain (loss) on embedded derivatives                                                                                         —                      —
           Other                                                                                                                                 (12)                   (67)
                                                                                                                                                (118)                  (321)

           Total before taxation                                                                                                               (147)                   (360)
           Taxation credit (charge)(b)                                                                                                           50                     135
           Total after taxation for period                                                                                                      (97)                   (225)


           (a)   An analysis of non-operating items by region is shown on pages 7, 9 and 10.
           (b)   Tax is calculated using the quarter’s effective tax rate on replacement cost profit.
           Non-operating items are charges and credits arising in consolidated entities that BP discloses separately because it considers such disclosures to be
           meaningful and relevant to investors. These disclosures are provided in order to enable investors better to understand and evaluate the group’s financial
           performance.

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                                                              Non-GAAP information on fair value accounting effects

                                                                                                                                                    First quarter
                                                                                                                                                 2010                2009
           $ million
           Favourable (unfavourable) impact relative to management’s measure of performance
           Exploration and Production                                                                                                             63                 158
           Refining and Marketing                                                                                                                 10                (109)
                                                                                                                                                  73                  49
           Taxation charge(a)                                                                                                                    (25)                (18)
                                                                                                                                                  48                  31


           (a)    Tax is calculated using the quarter’s effective tax rate on replacement cost profit.
           BP uses derivative instruments to manage the economic exposure relating to inventories above normal operating requirements of crude oil, natural gas and
           petroleum products as well as certain contracts to supply physical volumes at future dates. Under IFRS, these inventories and contracts are recorded at
           historic cost and on an accruals basis respectively. The related derivative instruments, however, are required to be recorded at fair value with gains and
           losses recognized in income because hedge accounting is either not permitted or not followed, principally due to the impracticality of effectiveness testing
           requirements. Therefore, measurement differences in relation to recognition of gains and losses occur. Gains and losses on these inventories and contracts
           are not recognized until the commodity is sold in a subsequent accounting period. Gains and losses on the related derivative commodity contracts are
           recognized in the income statement from the time the derivative commodity contract is entered into on a fair value basis using forward prices consistent with
           the contract maturity.
           IFRS requires that inventory held for trading be recorded at its fair value using period end spot prices whereas any related derivative commodity
           instruments are required to be recorded at values based on forward prices consistent with the contract maturity. Depending on market conditions, these
           forward prices can be either higher or lower than spot prices resulting in measurement differences.
           BP enters into contracts for pipelines and storage capacity that, under IFRS, are recorded on an accruals basis. These contracts are risk-managed using a
           variety of derivative instruments which are fair valued under IFRS. This results in measurement differences in relation to recognition of gains and losses.
           The way that BP manages the economic exposures described above, and measures performance internally, differs from the way these activities are measured
           under IFRS. BP calculates this difference for consolidated entities by comparing the IFRS result with management’s internal measure of performance, under
           which the inventory and the supply and capacity contracts in question are valued based on fair value using relevant forward prices prevailing at the end of
           the period. We believe that disclosing management’s estimate of this difference provides useful information for investors because it enables investors to see
           the economic effect of these activities as a whole. The impacts of fair value accounting effects, relative to management’s internal measure of performance,
           are shown in the table above. A reconciliation to GAAP information is set out below.

           Reconciliation of non-GAAP information

                                                                                                                                                    First quarter
                                                                                                                                                 2010                2009
           $ million
           Exploration and Production
           Replacement cost profit before interest and tax adjusted for fair value accounting effects                                          8,229                4,162
           Impact of fair value accounting effects                                                                                                63                  158
           Replacement cost profit before interest and tax                                                                                     8,292                4,320

           Refining and Marketing
           Replacement cost profit before interest and tax adjusted for fair value accounting effects                                            719                1,199
           Impact of fair value accounting effects                                                                                                10                 (109)
           Replacement cost profit before interest and tax                                                                                       729                1,090

           Total group
           Profit before interest and tax adjusted for fair value accounting effects                                                           9,533                4,449
           Impact of fair value accounting effects                                                                                                73                   49
           Profit before interest and tax                                                                                                      9,606                4,498

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                                                                          Realizations and marker prices

                                                                                                                                                First quarter
                                                                                                                                             2010                2009
           Average realizations(a)
           Liquids ($/bbl)(b)
           US                                                                                                                              69.77                39.47
           Europe                                                                                                                          75.71                47.59
           Rest of World                                                                                                                   72.94                40.89
           BP Average                                                                                                                      71.86                41.26
           Natural gas ($/mcf)
           US                                                                                                                                4.84                3.38
           Europe                                                                                                                            4.91                5.56
           Rest of World                                                                                                                     3.90                3.41
           BP Average                                                                                                                        4.26                3.63
           Total hydrocarbons ($/boe)
           US                                                                                                                              54.54                31.83
           Europe                                                                                                                          60.39                41.36
           Rest of World                                                                                                                   42.20                28.35
           BP Average                                                                                                                      49.16                31.40
           Average oil marker prices ($/bbl)
           Brent                                                                                                                           76.36                44.46
           West Texas Intermediate                                                                                                         78.84                43.20
           Alaska North Slope                                                                                                              79.14                45.40
           Mars                                                                                                                            75.85                43.83
           Urals (NWE– cif)                                                                                                                75.31                43.65
           Russian domestic oil                                                                                                            35.52                19.52
           Average natural gas marker prices
           Henry Hub gas price ($/mmBtu) (c)                                                                                                5.30                 4.91
           UK Gas – National Balancing Point (p/therm)                                                                                     35.65                46.80


           (a)   Based on sales of consolidated subsidiaries only – this excludes equity-accounted entities.
           (b)   Crude oil and natural gas liquids.
           (c)   Henry Hub First of Month Index.


                                               Non-GAAP information on unit production costs adjusted for restructuring costs (a)

                                                                                                                                                First quarter
                                                                                                                                             2010                2009
           $ million
           Production costs                                                                                                                1,524                1,499
           Restructuring costs included in production costs                                                                                  (86)                   –
           Production costs adjusted for restructuring costs                                                                               1,438                1,499

           Production (net of royalties) (b)
           Total hydrocarbons (mboe/d)(c)                                                                                                  2,690                2,715

           Unit production costs adjusted for restructuring costs ($/boe) (d)                                                                5.94                6.13


           (a)   Production costs are costs incurred by Exploration and Production to operate and maintain wells and related equipment and facilities. Amounts do not
                 include ad valorem and severance taxes. Restructuring costs are included within non-operating items. Further information on non-operating items is
                 provided on page 17.
           (b)   Excludes BP’s share of production of equity-accounted entities.
           (c)   Natural gas is converted to oil equivalent at 5.8 billion cubic feet = 1 million barrels.
           (d)   For first quarter 2009, there were no restructuring costs within production costs.

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                                                                                        Notes
           1.   Basis of preparation
                The interim financial information included in this report has been prepared in accordance with IAS 34 ‘Interim Financial Reporting’.
                The results for the interim periods are unaudited and in the opinion of management include all adjustments necessary for a fair presentation of the results
                for the periods presented. All such adjustments are of a normal recurring nature. This report should be read in conjunction with the consolidated
                financial statements and related notes for the year ended 31 December 2009 included in BP Annual Report and Accounts 2009 and in BP Annual
                Report on Form 20-F 2009.
                BP prepares its consolidated financial statements included within its Annual Report and Accounts on the basis of International Financial Reporting
                Standards (IFRS) as issued by the International Accounting Standards Board (IASB), IFRS as adopted by the European Union (EU) and in accordance
                with the provisions of the UK Companies Act 2006. IFRS as adopted by the EU differs in certain respects from IFRS as issued by the IASB, however,
                the differences have no impact on the group’s consolidated financial statements for the periods presented. The financial information presented herein
                has been prepared in accordance with the accounting policies expected to be used in preparing the Annual Report and Accounts and the Annual Report
                on Form 20-F for 2010, which do not differ significantly from those used in the BP Annual Report and Accounts 2009 or in BP Annual Report on Form
                20-F 2009.
                BP has adopted the revised version of IFRS 3 ‘Business Combinations’, with effect from 1 January 2010. The revised standard still requires the
                purchase method of accounting to be applied to business combinations but introduces some changes to the accounting treatment. Assets and liabilities
                arising from business combinations that occurred before 1 January 2010 were not required to be restated and thus there was no effect on the group’s
                reported income or net assets on adoption.
                In addition, BP has adopted the amended version of IAS 27, ‘Consolidated and Separate Financial Statements’, also with effect from 1 January 2010.
                This requires the effects of all transactions with minority interests to be recorded in equity if there is no change in control. When control is lost, any
                remaining interest in the entity is remeasured to fair value and a gain or loss recognized in profit or loss. There was no effect on the group’s reported
                income or net assets on adoption.

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                                                                                     Notes
           2.   Sales and other operating revenues

                                                                                                                                                First quarter
                                                                                                                                             2010                 2009
           $ million
           By business
           Exploration and Production                                                                                                      18,080               12,343
           Refining and Marketing                                                                                                          64,286               40,573
           Other businesses and corporate                                                                                                     790                  584
                                                                                                                                           83,156               53,500

           Less: sales between businesses
           Exploration and Production                                                                                                       9,746                5,800
           Refining and Marketing                                                                                                             135                  111
           Other businesses and corporate                                                                                                     204                  293
                                                                                                                                           10,085                6,204

           Third party sales and other operating revenues
           Exploration and Production                                                                                                       8,334                6,543
           Refining and Marketing                                                                                                          64,151               40,462
           Other businesses and corporate                                                                                                     586                  291
           Total third party sales and other operating revenues                                                                            73,071               47,296

           By geographical area
           US                                                                                                                              26,108               17,580
           Non-US                                                                                                                          54,009               33,586
                                                                                                                                           80,117               51,166
           Less: sales between areas                                                                                                        7,046                3,870
                                                                                                                                           73,071               47,296

           3.   Production and similar taxes

                                                                                                                                                First quarter
                                                                                                                                             2010                 2009
           $ million
           US                                                                                                                                 313                  79
           Non-US                                                                                                                             963                 595
                                                                                                                                            1,276                 674

                Comparative figures have been restated to include amounts previously reported as production and manufacturing expenses amounting to $213 million
                for the first quarter 2009, which we believe are more appropriately classified as production taxes. There was no effect on the group profit for the
                period or the group balance sheet.

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           4. Earnings per share and shares in issue
                 Basic earnings per ordinary share (EpS) amounts are calculated by dividing the profit for the period attributable to ordinary shareholders by the weighted
                 average number of ordinary shares outstanding during the period. The calculation of EpS is performed separately for each discrete quarterly period, and
                 for the year-to-date period. As a result, the sum of the discrete quarterly EpS amounts in any particular year-to-date period may not be equal to the EpS
                 amount for the year-to-date period.
                 For the diluted EpS calculation the weighted average number of shares outstanding during the period is adjusted for the number of shares that are
                 potentially issuable in connection with employee share-based payment plans using the treasury stock method.

                                                                                                                                                  First quarter
                                                                                                                                               2010                     2009
           $ million
           Results for the period
           Profit for the period attributable to BP shareholders                                                                              6,079                    2,562
           Less: preference dividend                                                                                                             —                        —
           Profit attributable to BP ordinary shareholders                                                                                    6,079                    2,562
           Inventory holding (gains) losses, net of tax                                                                                        (481)                    (175)
           RC profit attributable to BP ordinary shareholders                                                                                 5,598                    2,387

           Basic weighted average number of shares outstanding (thousand)(a)                                                            18,769,888                18,720,354
             ADS equivalent (thousand)(a)                                                                                                3,128,315                 3,120,059

           Weighted average number of shares outstanding used to calculate diluted earnings per share (thousand)(a)                     19,004,740                18,920,515
             ADS equivalent (thousand)(a)                                                                                                3,167,457                 3,153,419

           Shares in issue at period-end (thousand)(a)                                                                                  18,784,361                18,724,785
             ADS equivalent (thousand)(a)                                                                                                3,130,727                 3,120,798


           (a)      Excludes treasury shares and the shares held by the Employee Share Ownership Plans and includes certain shares that will be issuable in the future
                    under employee share plans.

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                                                                                        Notes
           5. Analysis of changes in net debt

                                                                                                                     First quarter
                                                                                                                  2010                 2009
           $ million
           Opening balance
           Finance debt                                                                                         34,627               33,204
           Less: Cash and cash equivalents                                                                       8,339                8,197
           Less: FV asset (liability) of hedges related to finance debt                                            127                  (34)
           Opening net debt                                                                                     26,161               25,041

           Closing balance
           Finance debt                                                                                         32,153               34,698
           Less: Cash and cash equivalents                                                                       6,841                8,360
           Less: FV asset (liability) of hedges related to finance debt                                            152                 (323)
           Closing net debt                                                                                     25,160               26,661
           Decrease (increase) in net debt                                                                       1,001               (1,620)

           Movement in cash and cash equivalents (excluding exchange adjustments)                               (1,421)                 242
           Net cash outflow (inflow) from financing (excluding share capital)                                    2,400               (1,857)
           Other movements                                                                                           7                    7
           Movement in net debt before exchange effects                                                            986               (1,608)
           Exchange adjustments                                                                                     15                  (12)
           Decrease (increase) in net debt                                                                       1,001               (1,620)

           6. TNK-BP operational and financial information

                                                                                                                     First quarter
                                                                                                                  2010                 2009
           Production (Net of royalties) (BP share)
           Crude oil (mb/d)                                                                                        849                 822
           Natural gas (mmcf/d)                                                                                    673                 642
           Total hydrocarbons (mboe/d)(a)                                                                          965                 933
           $ million
           Income statement (BP share)
           Profit (loss) before interest and tax                                                                   788                  419
           Finance costs                                                                                           (38)                 (68)
           Taxation                                                                                               (168)                (185)
           Minority interest                                                                                       (39)                 (32)
           Net income                                                                                              543                  134
           Cash flow
           Dividends received                                                                                      256                  —

                                                                                                             31 March          31 December
           Balance sheet                                                                                         2010                 2009
           Investments in associates                                                                           9,428                  9,141


           (a)   Natural gas is converted to oil equivalent at 5.8 billion cubic feet = 1 million barrels.

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           7. Inventory valuation
             A provision of $46 million was held at 31 December 2009 to write inventories down to their net realizable value. The net movement in the provision
             during the first quarter 2010 was a decrease of $22 million (first quarter 2009 was a decrease of $1,163 million).
           8. Post balance sheet event
             On 20 April 2010, the semi-submersible drilling rig Deepwater Horizon owned and operated by Transocean Limited caught fire in the US Gulf of
             Mexico and subsequently sank. The rig was drilling an exploration well (Mississippi Canyon 252) in which BP has a 65% interest. As operator under the
             MC 252 lease, BP is committed to doing everything in its power to contain the environmental consequences of the incident. BP is currently ramping up
             preparations for a major cleaning effort on the shorelines of Louisiana, Mississippi, Alabama and Florida. Efforts continue to stem the flow of oil from
             the well, currently estimated at up to 5,000 barrels a day. Preliminary estimates indicate that current efforts to contain the spill and secure the well are
             costing the MC 252 owners about $6 million per day. This figure is expected to rise as activity increases. It is too early to quantify other potential costs
             and liabilities associated with the incident.
           9. Second-quarter results
             BP’s second-quarter results will be announced on 27 July 2010.
           10. Statutory accounts
             The financial information shown in this publication, which was approved by the board of directors on 26 April 2010, is unaudited and does not constitute
             statutory financial statements.

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                                                                                     Signatures
           Pursuant to the requirements of the Securities Exchange Act of 1934, the registrant has duly caused this report to be signed on its behalf by the undersigned,
           thereunto duly authorized.


                                                                                       BP p.l.c.
                                                                                       (Registrant)

           Dated: 29 April 2010                                                        /s/ D J Pearl
                                                                                       D J PEARL
                                                                                       Deputy Company Secretary


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